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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND

   IN RE: MARRIOTT INTERNATIONAL
   CUSTOMER
   DATA SECURITY BREACH                             MDL 19-md-2879
   LITIGATION
                                                    JUDGE GRIMM

   THIS DOCUMENTS RELATES TO
   THE CONSUMER TRACK

                  REPORT AND RECOMMENDATION
                                 Introduction
      In this data breach case, the consumer plaintiffs complain that
Marriott permitted the exposure of their personal data to hackers.
Marriott seeks to defend itself by exploring how the hackers used the
plaintiffs’ private information, alleged to be the product of the hackers’
theft, to harm the plaintiffs.
      Marriott’s efforts have taken two forms: It has served
interrogatories and requests to produce documents upon the plaintiffs,
seeking the numbers on the credit cards that may have been stolen by the
hackers, and the other information the plaintiffs have as to the possible
use of their personal data that may illuminate how the hackers used what
they stole.
      Marriott’s second form of discovery is to prepare subpoenas for
service upon entities, such as banks or other credit card providers, for

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information those entities have about the use of their credit cards,
whether by plaintiffs or hackers (see Letter of November 23, 2020, at 3–
4, specifying why Marriott needs the information it seeks).
     The plaintiffs have responded to the discovery sought from them
by redacting significant portions of their contents, insisting that
paragraph 11 of the Second Amended Protective Order authorizes the
redactions. They are also seeking a protective order against the service
of the subpoenas on the banks and credit card providers.
     I will turn first to the propriety of the redactions made. I have
reached a somewhat startling conclusion that the Protective Order
(“Order”) may not justify the redactions made. I say “startling” because,
at this point, counsel for both parties and I have taken that right as a
given. Therefore, I believe that all that may be needed to resolve the
impasse at which the parties have arrived is to amend the Order to allow
information subject to the Order to be used in subpoenas to third parties.
     While examining the pertinent provision of the Order more
carefully, I was drawn to a more careful consideration of paragraph 11
that revealed a paradox in the paragraph in the Order that seems to
permit a universal right to redact what the Order calls “PII.”
                        The Structure of the Order
    The pertinent paragraph, paragraph 11, that, according to the
plaintiffs, creates an absolute right to redact certain information, follows
paragraphs that:


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     (1) Provide the definitions of the terms used in the agreement (#1)
     (2) The agreement’s scope and duration (#2 and #3)
     (3) The designation by a party of materials claimed to be covered
by the agreement and the right to challenge those designations (#4 and
5)
     (4) Access to and use of the designated material (#6)
     (5) The procedures to be followed when material subject to the
agreement is subpoenaed by a third party (#7)
     (6) Obligations of a party if it discloses material, subject to the
agreement, inadvertently (#8)
     (7) The filing of protected material in court (#9)
     (8) The final disposition of the material (#10)


Paragraph 1 (g) defines a crucial term “PII” as follows:
           “PII”: Personally Identifiable Information, which,
           for purposes of this Order, includes, but is not
           limited to payment card numbers, financial
           account numbers, social security numbers,
           addresses, phone numbers, email addresses,
           driver’s license numbers, other state identification
           numbers, employer identification numbers, tax
           identification numbers, passport numbers, a
           foreign government equivalent of any of these


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            numbers or identifiers, or other personal data that
            may, in combination, reveal sensitive PII.


      Thus, before speaking to redaction, the Order defines this term and
then speaks with precision and an all-embracing intent to cover every
possible aspect of the (1) creation of the protection of confidential and
highly confidential material, (2) access to it, (3) its use, and (4) ultimate
disposition.
                                 Redaction
      Paragraph 11 permits the redaction on which the plaintiffs rely. As
will be seen, however, paragraph 11 does not permit the redaction of
“highly confidential” information that contains PII. It only permits the
redaction of PII itself.
      This paragraph is the only paragraph of the agreement that speaks
of redaction. It leads to several difficult questions:
      Why would the lawyers have singled out PII and in effect denied
any access to it while permitting access to every other kind of highly
confidential information? Why would they have permitted controlled
access to “highly sensitive personal and confidential” information
(Protective Order, paragraph 1(g)) but denied any access to, for example,
credit card numbers, which are PII?
      My inability to resolve this conundrum led me to a more careful
parsing of paragraph 11. I have concluded that the paragraph defies


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explanation and must be modified to provide adequate guidance on how
PII should be treated.
                                The Redaction Paragraph
       The pertinent paragraph, #11, states, in subsection (a), the
following:
                   11.        REDACTION OF PII


               (a) Any Producing Party may redact from any
               Disclosures or Discovery Material any “PII,”
               personnel files, or personal contact information
               for any person. Any Party or Non-Party may
               designate as “Highly Confidential” those
               Documents, testimony, or information containing
               “personal data” within the meaning of the
               European Union’s General Data Protection
               Regulation (GDPR) or other applicable privacy
               law or regulation if the GDPR applies to such
               materials,1 in which case the Party or Non-Party


       1. The territorial scope of the GDPR is defined as follows: Art. 3 GDPR Territorial scope.
This regulation applies to the processing of personal data in the context of the activities of an
establishment of a controller or a processor in the union, regardless of whether the processing
takes place in the union or not. This regulation applies to the processing of personal data of data
subjects who are in the union by a controller or processor not established in the union, where the
processing activities are related to the offering of goods or services, irrespective of whether a
payment of the data subject is required, to such data subjects in the union, or the monitoring of
their behavior as far as their behavior takes place within the union (EU GDPR, https://gdpr-
info.eu/art-4-gdpr/).

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       may redact such personal data contained within
       said materials. If the same responsive information
       is otherwise available and not subject to GDPR
       such information should be produced consistent
       with the terms of this Order, which provides
       adequate protection without the need for
       redaction.


The GDPR defines “personal data” as follows:

       For the purposes of this regulation:

    •. “personal data” means any information relating to
       an identified or identifiable natural person (“data
       subject”); an identifiable natural person is one
       who can be identified, directly or indirectly, in
       particular by reference to an identifier such as a
       name, an identification number, location data, an
       online identifier or to one or more factors specific
       to the physical, physiological, genetic, mental,
       economic, cultural, or social identity of that




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            natural person.2

     This paragraph seems to create two categories. It first grants the
absolute right to redact any “PII, personnel files, or personal contact
information.” It then creates another category, which is treated
differently. This second category is information, whether or not it is PII,
within the definition of “personal data” within the meaning of the
GDPR, but only if the GDPR applies to it. A party may redact such
information. But if the same information is not subject to GDPR, it must
be produced and therefore not redacted. The draft persons believed
redaction was not necessary. The provisions of the Order limiting, for
example, who may see such information suffice.
     Thus, this paragraph speaks to three categories of information
created by this paragraph:
     1. PII may be redacted by a party unilaterally and absolutely.
     2. Information within the definition of the GDPR and which is
subject to the GDPR may be redacted.
     3. Information within the definition of the GDPR but not subject to
the GDPR may not be redacted because the parties to the Order believe
that the Order’s protections, other than redaction, sufficed.
     Thus, the first sentence of the paragraph grants an absolute right to
redact certain information, whereas the last sentence of the last
paragraph states that that redaction is improper as to certain other

    2. EU GDPR, https://gdpr-info.eu/art-4-gdpr/.

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information. Perhaps the lawyers thought PII was too sensitive to be
seen by opposing counsel despite the Order’s restrictions on the
distribution of the information subject to the Order.
     Yet, note that PII may not be redacted if it is within the definition
of “personal data” under the GDPR but not subject to the GDPR because
it is not within the “territorial scope” of the GDPR. Thus, the last
sentence of the paragraph seems to take away the absolute right to redact
information granted by the first sentence in the paragraph for
information within the “personal data” definition in the GDPR. If this
reading is correct, and PII is within the definition of personal data in the
GDPR, the paragraph is confounding. Why grant an absolute right to
redact in the first sentence of the paragraph and take it away in the last
sentence, as to PII, not subject to the GDPR?
                              The Log Provisions
     The log provisions add another problem. Paragraph 11(b) of the
Order states the following:

           (b)   If a Producing Party makes redactions
           pursuant to Section 11(a) it shall provide a log of
           redacted documents describing the redactions and
           confer with the Requesting Party as to whether the
           redactions will impair the Requesting Party’s
           ability to search for relevant information and, if
           so, whether reasonable technical means exist to

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            permit search without compromising the
            protections set forth herein.

      First, as I have indicated in an earlier report and recommendation,
if section (a) of the paragraph permits redaction of PII, then all a party
who redacts material need do is say that the material redacted is PII
(ECF NO. 649 at 6-7). However, the second sentence imposes an
obligation on the party doing the redacting to confer with the opposing
party to determine whether there might be a means to accomplish what
the paragraph calls the “search” without compromising the protection
the Order provides. But there is nothing in the paragraph that requires
anyone to do anything else. Therefore, the Order invites the impasse that
we have now reached.
      Plaintiffs have made redactions by insisting upon an absolute right
to redact PII. Marriott insists that plaintiffs’ assertion of such a right
makes legitimate discovery impossible. There the matter stands, and the
parties have been standing there for nearly a year. The agreement
provides no guidance as to what should happen now. If the agreement
provides plaintiffs with the absolute right to redact the PII they claim,
there is not much to talk about.
                     Paragraph 11 Should Be Stricken
      I believe that paragraph 11 (a) is so incomprehensible as to be
useless. The toothless redaction log provision (subsection (b)) is
responsible for the impasse confronting us. Additionally, the Order does

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not speak to whether information subject to the Order may be used in a
subpoena to a third party.
     Therefore, I believe it is time to draft a new Order that speaks to
the problems we are now confronting, and I recommend that the Court
strike paragraph 11 from the agreement. It should then permit the parties
to be heard regarding at least the following issues before issuing a
revised Order:
     1. Should the Court amend the agreement to permit an absolute
right to redact information unequivocally, and, if so, what information
should be eligible for redaction?
     2. If redaction is permitted, should the party making the redaction
be required to justify the redaction by specifying the nature of the
material redacted and the reason why the redaction meets whatever
requirements the Court will impose to justify a redaction. How detailed
must that showing be?
     3. If the redaction yields a dispute about whether the redaction was
permissible under the Order, what standard should be used to resolve it?
     2. If the Court determines that absolute redaction should not be
permitted, should the Order be further amended to permit that
information subject to the Order, including PII, be used if necessary in
subpoenas to be served on third parties?




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     3. Is it necessary to make it clear that information produced by
third parties in response to a subpoena is, upon production, subject to the
Order?
      A Protective Order Based on a Stipulation May Be Modified
     I appreciate why the plaintiffs oppose any amendment of the
Order. They insist that the burden of establishing an entitlement to an
amendment falls on Marriott.
     The plaintiffs are certainly correct that it is settled that the burden
of establishing a modification of a stipulated protective falls on the party
who seeks it. As has been stated by a court in this Circuit:
           A district court has discretionary authority to
           modify a protective order it has previously entered
           “for what it deems good cause shown.” United
           States v. (Under Seal), 794 F.2d 920, 928 n.6 (4th
           Cir. 1986) (observing in passing the court’s
           permissible exercise of discretion, noting it had
           “no occasion to consider [] the district court’s
           protective order” because the matter was not on
           appeal). Accord SmithKline Beecham Corp. v.
           Synthon Pharmaceuticals, Ltd., 210 FRD. 163,
           166 (MDNC 2002) (noting that courts have
           inherent power to modify protective orders,
           including protective orders arising from a


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           stipulation by the parties) (citations omitted). . .
           . The party seeking to modify a protective order
           bears the burden of showing good cause for the
           modification. Id. (citations omitted).


(Schaefer v. Family Med. Ctrs. of SC, LLC, No. 3:18-cv-02775-MBS,
2019 US Dist. LEXIS 82570, at *38-39 (D.S.C. May 16, 2019).
                            Plaintiffs’ Position
     The plaintiffs insist that Marriott failed to show good cause for
amending the Order. They point out that Marriott had to know that the
plaintiffs sought and, in their view, obtained a right to unilateral
redaction, but they agreed to the Order containing that provision in
paragraph 11.
     The plaintiffs also insist that they relied on that right to redaction
as they commenced and then proceeded with this litigation. However,
they might not have, had they known that they would be compelled to
reveal the information they claim the right to redact.
     Finally, they complain that the PII should not be permitted to be
used in third-party subpoenas because Marriott intends to use those
subpoenas to demand information that cannot possibly be relevant to this
case and would invade their privacy without good cause.




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                         The Recommendations
     I recommend that Judge Grimm permit the plaintiffs to be heard
regarding these issues, including whether they should still have absolute
power to redact the PII if he accepts my recommendation that the Order
should be amended and paragraph 11 deleted.
     I also appreciate that the plaintiffs fear that the disclosures on their
credit card entries may be used to embarrass them. Marriott denies any
such intentions.
     There is an important difference between disclosures of
information to a lawyer and its subsequent use. The Order is based on
the lawyers’ mutual trust that the information subject to the Order may
be used only to prosecute, defend, or settle this case (Order, paragraph
6(a)). Certainly, Judge Grimm has the power to add that if a document
containing highly confidential or confidential information, including PII,
is sought in discovery, the document must be used only for the purpose
for which it is sought and not to embarrass or harass any party.
     In this instance, it would mean that Marriott could use information
subject to the Order to investigate whether the credit card numbers at
issue or other PII were used by thieves, causing damage to plaintiffs, or
they indicate that a different data breach caused the damages sought in
this case. Misuse for any other purpose could be sanctioned.




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                             The Need for Modification
     The decision on whether there is good cause for revising the Order
must weigh the plaintiffs’ concerns for their privacy against the
necessity of completing a discovery process in a way that is fair, “just,
speedy and inexpensive” (Fed. R. Civ. P 1) in a complicated case).
     No one could fairly argue that a judge, despite his or her broad
discretion over the discovery process, is nevertheless precluded from
amending a Protective Order when a provision in it is, in my view,
incomprehensible and has created so much trouble and delay. It is better
to start fresh and create a provision that works.
     That need is urgent. For example, one of the solutions the plaintiffs
propose for the subpoena problem is that the parties, under my
supervision, create new third-party subpoenas. Once the third parties
comply, the plaintiffs want to first review the production. If the plaintiffs
again seek the right to redact information before Marriott sees the
production, we are right back where we started. We cannot go on like
this if we have any hope of finishing discovery.
                Plaintiffs’ Standing to Quash the Subpoena
     As I have indicated in an early Report and Recommendation,3 a
party does not have standing to “challenge a subpoena issued to a non-
party unless the party claims some personal right or privilege in the


     3. ECF No. 649 at 13.

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information sought by the subpoena.” (United States v. Idema, 118 Fed.
App’x 740, 744 (4th Cir. January 4, 2005)).4
           The Right of Privacy in the Information Demanded
       The plaintiffs claim such a personal right of privacy in the
information sought by the subpoenas. However, in United States v.
Miller (425 US 435, 440 (1975)), the Supreme Court, invoking what has
come to be called the “third-party doctrine,” rejected a claim that parties
have an expectation of privacy in information they willingly expose to
others. Therefore, it followed that they had no expectation of privacy in,
for example, original checks, deposit slips, and financial statements in
the bank’s possession where they had an account.
       The Court stated:
              The checks are not confidential communications
              but negotiable instruments to be used in
              commercial transactions. All of the documents
              obtained, including financial statements and
              deposit slips, contain only information voluntarily
              conveyed to the banks and exposed to their
              employees in the ordinary course of business.
              (Id. at 442)


        4. Accord: United States v. Graham, 824 F.3d 421, 425 (4th Cir. 2016)(“A party has
standing to quash a subpoena served on a non-party only if he has a personal right of privilege
with respect to the requested information.”); Robertson v. Cartinhour, No. Civ. A.Aw0-09-3436,
2010 WL 716221, at * 1-2 (D. Md. February 23, 2010); Clayton Brokerage Co. of St. Louis v.
Clement, 87 FRD. 569, 570-571 (D. Md. 2010).

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       In accordance with this decision, courts in the 4th Circuit have
concluded that people have no privacy right that permits them to quash a
subpoena directed to a bank or similar institution seeking the bank
records pertaining to their account (e.g., Neal v. State Employees Credit
Union, 2020 US Dist. LEXIS 83553, 5-6 (E.D.N.C. April 17, 2020);
Clayton Brokerage, 87. FRD at 570-571; Robertson, 2010 Wl 716221 at
*2; Northern v. Windsor Invs. of North Carolina, LLC, No. 13-10661,
2015 Bankr. LEXIS 516, *6-10 (Bankr. MDNC February 11, 2015);
First Mariner Bank v. Resolution Law Group, Civ. No. MJG-12-1133,
2014 US Dist. LEXIS 19565, *2-6 (D. Md. February 14, 2014). See also
SEC v. Jerry T. Obrien, Inc., 467 US 735, 743 (not a violation of the 4th
amendment to use against the defendant to secure by subpoena
“financial records obtained from his bank”); United States v. Graham,
824 F.3d 421 (4th Cir. 2016) (applying Miller and third-party doctrine in
a criminal case)).5
       Unfortunately for the plaintiffs, one of them was Judge Grimm.
       In Corsair Special Situations Fund, L.P. v. Engineered Framing
Sys., Inc. (No. 09-1201-PWG, 2011 Wl 3651821 (D. Md. August 17,
2011)) then Magistrate Judge Grimm confronted a claim of a right to
privacy, justifying the quashing of an opposing party’s subpoena upon a


      5. Note the 4th Circuit’s conclusion that the police did not need a warrant to secure cell-site
location data from an ISP provider did not survive the contrary Supreme Court decision in
Carpenter v. United States, 138 S. Ct. 2206 (2018).

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third party. The documents at issue were “telephone bills, invoices,
incoming and outgoing call records. Incoming and outgoing text
messages, dates of account, invoices, roaming fees, etc.” (Id. at * 1).
Judge Grimm analogized these records to bank records. He then stated
of the business records:
           As for the bills, invoices, dates of account, and
           roaming fees, case law pertaining to privacy rights
           in bank records is analogous, and therefore
           informative. Bank records “are not confidential
           communications, but instruments of commercial
           transactions” and “the business records of the
           bank” (Robertson v. Cartinhour, No. AW–09–
           3436, 2010 WL 716221, at *2 (D.Md. Feb.23,
           2010) (quoting Clayton Brokerage Co., 87 FRD at
           571); see United States v. Miller, 425 US 435,
           440, 96 S.Ct. 1619, 48 L.Ed.2d 71 (1975)).
           (holding that bank documents are “business
           records of the bank” rather than the bank’s
           customer’s “private papers”) (abrogated in part on
           other grounds by statute). Therefore, “the issuance
           of a subpoena requiring the bank to produce its
           records is not violative of any cognizable privacy
           right of the defendant.” (Robertson, 2010 WL


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              716221, at *2) (quoting Clayton Brokerage Co.,
              87 FRD at 571). A phone company’s invoices to
              customers, likewise, are business records of the
              phone company, and not personal documents in
              which a customer could have a reasonable
              expectation of privacy (see generally Robertson,
              2010 WL 716221, at *2; Clayton Brokerage Co.,
              87 FRD. at 571). Without a reasonable
              expectation of privacy, Defendant Marie Hildreth
              has no standing to challenge the subpoena insofar
              as it pertains to the phone company’s records, i.e.,
              the bills, invoices, dates of account, and roaming
              fees (see Idema, 118 Fed. App’x 740; Brown, 595
              F.2d at 967; Covad Commc’ns Co., 2009 WL
              3739278, at *3; Clayton Brokerage Co., 87 FRD
              at 571).
Id. at * 3.
      The plaintiffs make only a broad claim of privacy to interdict the
subpoenas. But the plaintiffs have no privacy interest in the service of a
subpoena upon a bank insofar as the subpoena seeks what Judge Grimm
described as “the business records of the bank.” Thus, their motion for a
protective order premised on their nonspecific claim of privacy fails.




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     Although the plaintiffs do not object to the subpoenas’ specific
paragraphs, an analysis of each of those specific paragraphs is necessary
to dispose fully of their motion for a protective order. That analysis
shows they do not have a right of privacy against the banks’ production
of the information specified in the subpoenas.
                  The Specific Demands of the Subpoenas
     The subpoenas demand the following:
 1. All account holder statements for a particular credit card.
 2. All communications or notifications between a particular plaintiff
     and the entity subpoenaed regarding6 (a) suspected fraud or
     unauthorized use of that card; (b) replacing that card; (c) alerts
     from card brands indicating to the holder their possible
     compromise in a data-security incident (or otherwise).
 3. All documents and communications related to charges made by a
     particular company or its website identified by name in the
     subpoena (e.g., hanes.com or Mayfair.com).
 4. All agreements between the party being served, such as account
     holder agreements.
 5. All documents related to other authorized users of the account.
 6. All recordings of telephone calls between the party being served
     and the account holder.



    6. I will use the shorthand phrase “bank” for the clumsier “entity being subpoenaed.”

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     First, the credit card statements are exactly what Judge Grimm
described as business records. They record transactions against an
account in the same way as a check. Similarly, charges made against the
account by providers of goods and services are nothing more than debits
against the account which the bank recorded in the ordinary course of its
business. They too are the bank’s business records, as Judge Grimm
defined that term.
     Second, the communications to and from a third party to the entity
being subpoenaed cannot be protected by any privacy privilege the
plaintiffs could claim. The plaintiffs neither sent nor received them. This
is also true of communications from the bank to the plaintiffs—to which
the plaintiffs did not respond. Nor can documents related to other
authorized users of the account other than the plaintiffs somehow fall
within the plaintiffs’ privacy.
     Third, the communications between the bank and the plaintiffs are
not protected by the plaintiffs’ privacy. The heart and soul of the “third-
party doctrine” articulated in the Miller case are that a party does not
have any claim of privacy in what that party discloses to a third party.
The Supreme Court stated, “that a bank depositor has no legitimate
‘expectation of privacy’ in financial information voluntarily conveyed to
. . . banks and exposed to their employees in the ordinary course of
business.” (Miller, 425 US at 422). This is because everyone takes the
risk that when they disclose information to a third party, that third party


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may disclose it, in turn, to someone else (Id.). Therefore, the plaintiffs
have no claim to privacy to the agreement they had with the bank or in
their communications with the bank. The bank was a party to the
agreements and any other communications. It is free to disclose their
contents in response to Marriott’s subpoenas.
     Finally, there is one interesting exception: Although federal law
does not prohibit one party to a telephone conversation to tape-record it,
Maryland law does, at least if one of the parties to the call is in
Maryland. (Perry v. Maryland, 357 Md. 37, 39-40 (Md. 1996)).
Therefore, paragraph 9 of the subpoena, which demands the recordings
of telephone calls between plaintiffs and banks, are illegal if either party
to the conversation lives in Maryland. Marriott will have to be sensitive
to this prohibition when it drafts the final version of the subpoenas.
     I appreciate that the plaintiffs wish to create a new regimen. They,
perhaps using the proportionality factors in Fed. R. Civ. P 26(b)(1)
would ask me to assist in drafting the subpoenas Marriott will issue.
When the plaintiffs see what the banks produce and then redact from the
documents, the banks produce what they claim to be permitted to redact
by paragraph 11 of the Protective Order.
     The problem is that this regimen (1) contradicts the 4th Circuit’s
holding in Idema that they have no standing to complain about a
subpoena served on a third party; (2) the Supreme Court’s decision in
Miller that they have no right to privacy in the banks’ business records;


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and (3) Judge Grimm’s decision applying Idema and Miller and
concluding once again that the plaintiffs have no standing to complain
about subpoenas served on a third party and no privacy interest in a
bank’s business records.
     Except for the phone calls between themselves and the banks, the
plaintiffs failed to establish that the subpoenas violated their privacy,
and their motion for a protective order must be denied.
                             Conclusion
     I recommend that paragraph 11 be stricken from the Protective
Order and that the parties be heard as to how it should be revised. I
further recommend that the plaintiffs’ motion for a protective order be
denied.

                                 Joh  M. Facciola
                                   _________________________
                                   John M. Facciola


Dated:
          12/2/2020




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